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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF OKLAHOMA

SAMUEL D. EDWARDS,

                                     Plaintiff,
                                                    Case No. CIV-04-096-KEW
v.                                                  The Honorable Kimberly West

PEPSICO, INC., a North Carolina
corporation; PEPSI-COLA COMPANY, a
North Carolina corporation; CONOPCO,
INC. d/b/a THOMAS J. LIPTON
COMPANY, a Virginia corporation; WM. W.
MEYER & SONS, INC., an Illinois
corporation; B.W. SINCLAIR, INC., a Texas
corporation; LOCKWOOD GREEN
ENGINEERS, INC., a foreign corporation;
and JANE DOE, a foreign resident,

                                  Defendants.

                       CAPRON & EDWARDS’ STATUS REPORT

       Pursuant to the Court’s Order of June 16, 2009, counsel submits the following:

          1. The parties have been unable to reach an agreement.

          2. Holden & Carr is currently retaining an amount in excess of $300,000.00 claiming

              that that Steve Capron’s time was intentionally underreported.

          3. Holden & Carr’s contemporaneous time sheets reflect 1,143.55 total hours

              including 753.4 attorney hours and 390.2 paralegal hours. (Exhibit 1)

          4. $189,700.00 is the total fee under the fee agreement utilizing the totals from the

              contemporaneous time sheets provided by Holden & Carr PC. The specific basis

              for any claim in excess of that amount has not been disclosed.
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     5. Interest on the funds held in trust by Capron & Edwards equals $81,093.21.

        Holden & Carr PC has not disclosed the exact amount of interest earned on the

        funds for the period after November 3, 2008 rendering an apportionment of the

        interest incapable of calculation.

     6. It appears an evidentiary hearing will be required to determine the parties’ interest

        in the funds currently held by Holden & Carr.


                                       ELDRIDGE COOPER
                                            STEICHEN & LEACH P.L.L.C.



                                       By s/Thomas E. Steichen________________
                                          THOMAS E. STEICHEN, OBA# 8590
                                          FRED C. CORNISH, OBA# 1924
                                          P.O. Box 3566
                                          Tulsa, Oklahoma 74101-3566
                                          (918) 388-5555 FAX (918) 388-5654

                                             Attorneys for Capron & Edwards, P.C.




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                              CERTIFICATE OF MAILING

        I hereby certify that on the 13th day of July, 2009, I electronically transmitted the
foregoing document to the Clerk of the Court using the ECF System for filing and a transmittal
of a Notice of Electronic Filing to the following ECF registrants:


       Michael Burrage
       mburrage@whittenburragelaw.com

       David Ross
       drr@nwcdlaw.com

       Joel L. Woghlgemugh
       jlw@nwcdlaw.com




0412-0001                                         s/Thomas E. Steichen_____________




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